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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                                  CASE NO. 20-MJ-06641-SNOW

  UNITED STATES OF AMERICA

  vs.

  SHANTERIA BARNES,

                 Defendant.
                                               /

              UNITED STATES’ RESPONSE TO STANDING DISCOVERY ORDER

         The United States hereby files this response to the Standing Discovery Order. This

  response complies with Local Rule 88.10, and Federal Rule of Criminal Procedure 16, and is

  numbered to correspond with Local Rule 88.10.

  A.     1.      There are no written statements made by the defendant before or after arrest in
                 response to interrogation by any person then known to the defendant to be a
                 government agent.

         2.      All recorded oral statements made by the defendant before or after arrest in
                 response to interrogation by any person then known to the defendant to be a
                 government agent have been provided.

         3.      That portion of the written record containing the substance of any oral statements
                 made by the defendant before or after arrest by any person then known to the
                 defendant to be a government agent has been provided.

         4.      The defendant did not testify before the Grand Jury.

         5.      The defendant’s NCIC record has been provided.

         6.      Books, papers, documents, photographs, tangible objects, buildings or places,
                 which the United States intends to use as evidence at trial to prove its case in chief,
                 or were obtained or belonging to the defendant may be inspected at a mutually
                 convenient time for both the United States and defense counsel. All unredacted
                 computer and phone extractions, as well as any other items that contain child
                 pornography, may be viewed at the FBI Miami Field Office. The attachments to
                 this discovery response are not necessarily copies of all the books, papers,
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              documents, etc., that the United States may intend to introduce at trial.

  B.   DEMAND FOR RECIPROCAL DISCOVERY: The United States requests the disclosure
       and production of materials enumerated as items 1, 2 and 3 of Section B of the Standing
       Discovery Order. This request is also made pursuant to Rule 16(b) of the Federal Rules of
       Criminal Procedure.

  C.   The United States will disclose any information or material which may be favorable on the
       issues of guilt or punishment within the scope of Brady v. Maryland, 373 U.S. 83 (1963),
       and United States v. Agurs, 427 U.S. 97 (1976).

  D.   The United States will disclose any payments, promises of immunity, leniency, preferential
       treatment, or other inducements made to prospective government witnesses, within the
       scope of Giglio v. United States, 405 U.S. 150 (1972), or Napue v. Illinois, 360 U.S. 264
       (1959).

  E.   There is no alleged co-conspirator, accomplice, or informant who will testify for the United
       States at trial.

  F.   The defendant was identified by the Minor Victims when she was shown a photograph.

  G.   The United States has advised its agents and officers involved in this case to preserve all
       rough notes.

  H.   You are on notice that all evidence made available to you for inspection, as well as all
       statements disclosed herein or in any future discovery letter, may be offered in the trial of
       this cause, under F.R.E. 404(b) or otherwise (including the inextricably-intertwined
       doctrine).

  I.   The defendant is not an aggrieved person, as defined in Title 18, United States Code,
       Section 2510(11), of any electronic surveillance.

  J.   The United States will order transcribed the Grand Jury testimony of all witnesses who will
       testify for the government at the trial of this cause.

  K.   No controlled substances are involved in this indictment.

  L.   The United States does not know of any automobile, vessel, or aircraft allegedly used in
       the commission of this offense that is in the government's possession.

  M.   The United States is not aware of any latent fingerprints or palm prints that have been
       identified by a government expert as those of the defendant.



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  N.     The United States will make every possible effort in good faith to stipulate to all facts or
         points of law the truth and existence of which is not contested and the early resolution of
         which will expedite trial. These stipulations will be discussed at the discovery conference.

  O.     The government is available for a pretrial discovery conference as required by Rule 16.1
         of the Federal Rules of Criminal Procedure and Local Rule 88.10(o). Please contact the
         undersigned with dates that defense counsel is available.

  P.     Two (2) DVDs have been mailed to the defense which contain additional discovery
         included the following files:

            (1) Folder containing the Defendant’s Cellular Phone Extraction;
            (1) Folder titled “Interview of BARNES” containing (1) Video;
            (1) Folder titled “SW Photos – 3008 NW 2nd St” containing (330) photographs; and
            (1) Folder titled “Facebook Search Warrant Returns” containing (7) Audios and (2)
             PDFs.

         The government is aware of its continuing duty to disclose such newly discovered
  additional information required by the Standing Discovery Order, Rule 16(c) of the Federal Rules
  of Criminal Procedure, Brady, Giglio, Napue, and the obligation to assure a fair trial.

          In addition to the request made above by the government pursuant to the Standing
  Discovery Order, Local Rule 88.10(b), and Rule 16(b) of the Federal Rules of Criminal Procedure,
  in accordance with Rule 12.1 of the Federal Rules of Criminal Procedure, the government hereby
  demands Notice of Alibi defense; the approximate time, date, and place of the offense were as
  specified in the Indictment.

         The attachments to this response are numbered pages USA000001 – USA000236. Please
  contact the undersigned Assistant United States Attorney if any pages are missing.


                                                       Respectfully submitted,
                                                       ARIANA FAJARO ORSHAN
                                                       UNITED STATES ATTORNEY

                                               By:     /s/ Brooke Elise Latta
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                                CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that I electronically filed the foregoing document with the Clerk

  of the Court using CM/ECF, on January 25, 2021.

                                            /s/ Brooke Elise Latta
                                            BROOKE ELISE LATTA
                                            Assistant United States Attorney




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